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      EXHIBIT TO PETITION

  CASH FLOW STATEMENT
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                                                Dickey's Barbecue Pit
                                                          Profit and Loss
                                                   January 1 - December 1, 2021


                                                                                                       TOTAL
Income
 4000 Sales
  4100 Non Catering Sales                                                                         4,572,632.04
  4200 Catering Sales                                                                              383,376.27
 Total 4000 Sales                                                                                 4,956,008.31
 Sales of Product Income                                                                              2,864.80
 Unapplied Cash Payment Income                                                                        3,177.32
Total Income                                                                                     $4,962,050.43
Cost of Goods Sold
 5000 Cost of Goods Sold
  5100 Meat                                                                                       1,071,844.55
  5200 Grocery                                                                                     656,335.31
  5205 Produce                                                                                      47,336.83
  5300 Beverage                                                                                     10,400.35
  5400 Paper                                                                                       293,901.19
  5500 Catering Supplies                                                                               376.65
  5600 Wood                                                                                         23,932.43
 Total 5000 Cost of Goods Sold                                                                    2,104,127.31
Total Cost of Goods Sold                                                                         $2,104,127.31
GROSS PROFIT                                                                                     $2,857,923.12
Expenses
 6000 Payroll Labor Expenses                                                                          8,741.43
  6015 Management Salary                                                                           158,934.36
  6025 Salaries and Wages                                                                         1,582,590.98
  6026 Payroll Expense                                                                              76,273.33
  6100 Overtime                                                                                     10,915.72
  6125 Contractor Payment                                                                           38,300.84
  6225 Correction Payment                                                                             4,484.01
  6275 Reimbursements                                                                                  708.15
 Total 6000 Payroll Labor Expenses                                                                1,880,948.82
 6300 Employer Taxes                                                                               163,299.21
 6320 Worker's Compensation                                                                           1,605.00
 6325 Payroll Processing Fees                                                                         4,521.03
 7000 Franchise Fees                                                                                  5,000.00
  7025 Marketing                                                                                    53,600.06
  7050 Royalty Expense                                                                              65,155.80
  7060 Training Expenses                                                                               840.00
 Total 7000 Franchise Fees                                                                         124,595.86




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                                                Dickey's Barbecue Pit
                                                          Profit and Loss
                                                   January 1 - December 1, 2021


                                                                                                     TOTAL
7200 Advertising & Marketing                                                                       8,588.45
7205 Digital Signage                                                                               1,776.60
Total 7200 Advertising & Marketing                                                                10,365.05
7300 Rent & Lease                                                                                539,994.31
7400 Utilities                                                                                     1,424.70
7410 Water                                                                                         4,309.20
7420 Gas/CO2                                                                                      37,528.12
7430 Electricity                                                                                  34,321.20
7440 Phone                                                                                        16,062.22
7445 Cable/Internet                                                                                3,194.26
7450 Alarm & Security                                                                             22,230.55
Total 7400 Utilities                                                                             119,070.25
7500 Other Business Expenses
7505 Knife Sharpening                                                                              7,040.19
7506 Window Cleaning                                                                               2,514.69
Total 7500 Other Business Expenses                                                                 9,554.88
7800 Repairs & Maintenance                                                                        15,408.69
7810 Plumbing                                                                                      7,362.00
7811 Pest Control                                                                                  5,336.65
7812 Landscaping & Lawn Services                                                                     850.00
7813 Janitorial / Cleaning                                                                        15,923.23
7814 Hood Cleaning                                                                                 7,444.22
7815 Grease Trap Service                                                                           1,650.00
7816 General Repairs                                                                              23,738.81
7817 Equipment/ Machine                                                                           12,097.64
7819 HVAC                                                                                         16,012.63
Total 7800 Repairs & Maintenance                                                                 105,823.87
7820 Automobile                                                                                      453.08
7850 Dues & Subscriptions                                                                          1,254.68
7860 Licenses & Fees                                                                              16,257.43
7900 Insurance                                                                                    14,109.77
7950 Office Supplies & Software                                                                   92,281.61
7955 Equipment & Supplies                                                                         65,597.75
8000 Ask My Accountant                                                                           -145,986.32
8010 Travel                                                                                       12,096.59
8015 Meals & Entertainment                                                                           720.08
8100 Bank Charges & Fees                                                                           3,746.12
8110 Credit Card Fees                                                                             42,017.37
8112 Merchant Services                                                                             6,336.43
8115 Bank Fees                                                                                    18,560.05




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                                                 Dickey's Barbecue Pit
                                                           Profit and Loss
                                                    January 1 - December 1, 2021


                                                                                                        TOTAL
  8120 3PV Fees                                                                                     246,115.86
 Total 8100 Bank Charges & Fees                                                                     316,775.83
 8150 Cash Over / Under                                                                              -31,041.72
 8200 Equipment Rental                                                                                 3,559.34
  8201 Ice Machine Rental                                                                              7,768.86
 Total 8200 Equipment Rental                                                                         11,328.20
 8400 Uniforms                                                                                         3,193.46
 8580 Property Taxes                                                                                   7,435.42
 8650 Trash / Waste Removal                                                                          12,819.98
 8830 Miscellaneous Expense                                                                          13,039.83
 8835 Delivery                                                                                         1,148.97
 8850 Legal & Professional Services
  8851 Legal                                                                                           8,410.53
  8852 Consulting                                                                                    11,144.39
  8853 Accounting                                                                                    40,159.28
 Total 8850 Legal & Professional Services                                                            59,714.20
 8920 Line Service                                                                                   24,164.67
 8930 Outside Services                                                                                 8,173.03
 8950 Reimbursable Expenses                                                                            2,006.96
 8960 Charitable Contributions                                                                          102.30
 Electricityc                                                                                          5,454.15
 QuickBooks Payments Fees                                                                                41.96
 Unapplied Cash Bill Payment Expense                                                                   4,454.44
 Uncategorized Expense                                                                                 7,135.96
Total Expenses                                                                                    $3,462,510.59
NET OPERATING INCOME                                                                              $ -604,587.47
Other Income
 9000 Interest Income                                                                                      2.49
 9100 Other Miscellaneous Income                                                                    272,939.19
Total Other Income                                                                                 $272,941.68
Other Expenses
 9200 Interest Expense                                                                              311,630.19
Total Other Expenses                                                                               $311,630.19
NET OTHER INCOME                                                                                   $ -38,688.51
NET INCOME                                                                                        $ -643,275.98




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